        Case 3:17-cv-03224-D Document 1 Filed 11/28/17               Page 1 of 9 PageID 1


                              UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION


 ANTWANETTE L. HOWARD,
                                                      CIVIL COMPLAINT
              Plaintiff,

 v.                                                   CASE NO. 3:17-cv-03224

 MEDICREDIT, INC.,
                                                      DEMAND FOR JURY TRIAL
              Defendant.


                                           COMPLAINT

         NOW comes ANTWANETTE L. HOWARD (“Plaintiff”), by and through her attorneys,

Sulaiman Law Group, Ltd. (“Sulaiman”), complaining as to the conduct of MEDICREDIT, INC.

(“Defendant”), as follows:

                                      NATURE OF THE ACTION

      1. Plaintiff brings this action for damages pursuant to the Fair Debt Collection Practices Act

(“FDCPA”) under 15 U.S.C. §1692 et seq., the Telephone Consumer Protection Act (“TCPA”)

under 47 U.S.C. §227 et seq., and the Texas Debt Collection Act (“TDCA”) under Tex. Fin. Code

Ann. § 392 et seq. for Defendant’s unlawful conduct.

                                     JURISDICTION AND VENUE

      2. This action arises under and is brought pursuant to the FDCPA and TCPA. Subject matter

jurisdiction is conferred upon this Court by 15 U.S.C §1692, 47 U.S.C §227, 28 U.S.C. §§1331

and 1337, as the action arises under the laws of the United States. Supplemental jurisdiction exists

for the state law claim pursuant to 28 U.S.C. §1367.




                                                  1
        Case 3:17-cv-03224-D Document 1 Filed 11/28/17                Page 2 of 9 PageID 2


   3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conducts business

in the Northern District of Texas and a substantial portion the events or omissions giving rise to

the claims occurred within the Northern District of Texas.

                                               PARTIES

   4. Plaintiff is a 27 year old natural person residing at 12811 Jupiter Road, Apartment 106,

Dallas, Texas, which falls within the Northern District of Texas.

   5. Plaintiff is a “person” as defined by 47 U.S.C. §153(39).

   6. Defendant is a collection agency focused exclusively on medical and healthcare debts with

its headquarters located in St. Louis, Missouri. Defendant is registered at 150 West Market Street,

Suite 800, Indianapolis, Indiana, and makes collection calls in all states, including Texas.

   7. Defendant is a “person” as defined by 47 U.S.C. §153(39).

   8. Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers at all

times relevant to the instant action.

                              FACTS SUPPORTING CAUSES OF ACTION

   9.     The instant action arises out of the nature of Defendant’s attempt to collect upon a medical

debt (“subject debt”) said to be owed by Plaintiff.

   10. In approximately May 2017, Plaintiff began receiving calls to her cellular phone, (214)

XXX-7881, from Defendant.

   11. At all times relevant to the instant action, Plaintiff was the sole subscriber, owner, and

operator of the cellular phone ending in 7881. Plaintiff is and always has been financially

responsible for the cellular phone and its services.




                                                  2
      Case 3:17-cv-03224-D Document 1 Filed 11/28/17                   Page 3 of 9 PageID 3


    12. Defendant has mainly used the phone number (800) 823-2318 when placing calls to

Plaintiff’s cellular phone, but upon belief, it has used other numbers as well.

    13. Upon information and belief, the above referenced phone number ending in 2318 is

regularly utilized by Defendant during its debt collection activity.

    14. Upon answering phone calls from Defendant, Plaintiff experiences a noticeable pause,

lasting several seconds in length, before a live representative begins to speak.

    15. Upon speaking with Defendant, Plaintiff is informed that it is acting as a debt collector

attempting to collect upon the subject debt.

    16. Plaintiff has notified Defendant that due to her unemployment she is unable to make

payment and will do so upon attaining a job.

    17. Due to Defendant’s unwillingness to understand Plaintiff’s financial situation, Plaintiff

demanded that Defendant stop contacting her.

    18. Despite Plaintiff’s demands, Defendant has continued to persistently place collection calls

to her cellular phone up until the fall of 2017.

    19. Plaintiff has received not less than 15 phone calls from Defendant since asking it to stop

calling.

    20. Frustrated over Defendant’s conduct, Plaintiff spoke with Sulaiman regarding her rights,

 resulting in expenses.

    21. Plaintiff has been unfairly and unnecessarily harassed by Defendant's actions.

    22. With the goal of specifically addressing Defendant’s conduct, Plaintiff has expended

 approximately $52.00 to purchase and maintain an application on her cellular phone to help quell

 Defendant’s calls. However, the communications have continued.




                                                   3
         Case 3:17-cv-03224-D Document 1 Filed 11/28/17                Page 4 of 9 PageID 4


      23. Plaintiff has suffered concrete harm as a result of Defendant’s actions, including but not

    limited to, invasion of privacy, aggravation that accompanies collection telephone calls,

    emotional distress, increased risk of personal injury resulting from the distraction caused by the

    never-ending calls, increased usage of her telephone services, loss of cellular phone capacity,

    diminished cellular phone functionality, decreased battery life on her cellular phone, and

    diminished space for data storage on her cellular phone.


              COUNT I – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

      24. Plaintiff repeats and realleges paragraphs 1 through 23 as though full set forth herein.

      25. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3) of the FDCPA.

      26. Defendant is a “debt collector” as defined by §1692a(6) of the FDCPA, because it regularly

use the mail and/or the telephone to collect, or attempt to collect, delinquent consumer accounts.

      27. Defendant identifies itself as a debt collector, and is engaged in the business of collecting

or attempting to collect, directly or indirectly, defaulted debts owed or due or asserted to be owed

or due to others. Defendant identifies itself as a debt collector and has been a member of the

Association of Credit and Collection Professionals since 2007.1

      28. The subject debt is a “debt” as defined by FDCPA §1692a(5) as it arises out of a transaction

due or asserted to be owed or due to another for personal, family, or household purposes.

           a. Violations of FDCPA §1692c(a)(1) and §1692d

      29. The FDCPA, pursuant to 15 U.S.C. §1692d, prohibits a debt collector from engaging “in

any conduct the natural consequence of which is to harass, oppress, or abuse any person in

connection with the collection of a debt.” §1692d(5) further prohibits, “causing a telephone to ring




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    http://www.acainternational.org/search#memberdirectory

                                                        4
      Case 3:17-cv-03224-D Document 1 Filed 11/28/17                    Page 5 of 9 PageID 5


or engaging any person in telephone conversation repeatedly or continuously with intent to annoy,

abuse, or harass any person at the called number.”

    30. Defendant violated §1692c(a)(1), d, and d(5) when it continuously called Plaintiff after

being notified to stop. Defendant called Plaintiff at least 15 times after she demanded that it stop.

This repeated behavior of systematically calling Plaintiff’s phone in spite of her demands was

harassing and abusive. The frequency and volume of calls shows that Defendant willfully ignored

Plaintiff’s pleas with the goal of annoying and harassing her.

    31. Defendant was notified by Plaintiff that its calls were not welcomed. As such, Defendant

knew that its conduct was inconvenient and harassing to her.

          b. Violations of FDCPA § 1692e

    32. The FDCPA, pursuant to 15 U.S.C. §1692e, prohibits a debt collector from using “any

 false, deceptive, or misleading representation or means in connection with the collection of any

 debt.”

    33. In addition, this section enumerates specific violations, such as:

            “The use of any false representation or deceptive means to collect or attempt to
            collect any debt or to obtain information concerning a consumer.” 15 U.S.C.
            §1692e(10).

    34. Defendant violated §1692e and e(10) when it used deceptive means to collect and/or

attempt to collect the subject debt. In spite of the fact that Plaintiff demanded that it stop contacting

her, Defendant continued to ceaselessly contact her via automated calls. Instead of putting an end

to this harassing behavior, Defendant continued to contact Plaintiff in a deceptive attempt to force

her to answer its calls and ultimately make a payment. Through its conduct, Defendant

misleadingly represented to Plaintiff that it had the legal ability to contact her via an automated

system when it no longer had consent to do so.

          c. Violations of FDCPA § 1692f

                                                   5
      Case 3:17-cv-03224-D Document 1 Filed 11/28/17                  Page 6 of 9 PageID 6


   35. The FDCPA, pursuant to 15 U.S.C. §1692f, prohibits a debt collector from using “unfair

or unconscionable means to collect or attempt to collect any debt.”

   36. Defendant violated §1692f when it unfairly and unconscionably attempted to collect on a

debt by continuously calling Plaintiff over 15 times after being notified to stop. Attempting to

coerce Plaintiff into payment by placing voluminous phone calls without her permission is unfair

and unconscionable behavior. These means employed by Defendant only served to worry and

confuse Plaintiff.

   37. As pled in paragraphs 19 through 23, Plaintiff has been harmed and suffered damages as a

result of Defendant’s illegal actions.

   WHEREFORE, Plaintiff, ANTWANETTE L. HOWARD, respectfully requests that this

Honorable Court enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned bodies of law;

   b. Awarding Plaintiff statutory damages of $1,000.00 as provided under 15 U.S.C.
      §1692k(a)(2)(A);

   c. Awarding Plaintiff actual damages, in an amount to be determined at trial, as provided
      under 15 U.S.C. §1692k(a)(1);

   d. Awarding Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C.
      §1692k(a)(3); and

   e. Awarding any other relief as this Honorable Court deems just and appropriate.


          COUNT II – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

   38. Plaintiff repeats and realleges paragraphs 1 through 37 as though fully set forth herein.

   39. The TCPA, pursuant to 47 U.S.C. § 227(b)(1)(iii), prohibits calling persons on their

cellular phone using an automatic telephone dialing system (“ATDS”) without their consent. The

TCPA, under 47 U.S.C. § 227(a)(1), defines an ATDS as “equipment which has the capacity...to

                                                6
     Case 3:17-cv-03224-D Document 1 Filed 11/28/17                 Page 7 of 9 PageID 7


store or produce telephone numbers to be called, using a random or sequential number generator;

and to dial such numbers.”

   40. Defendant used an ATDS in connection with its communications directed towards

Plaintiff’s cellular phone. The noticeable pause, lasting several seconds in length, which Plaintiff

experiences during answered calls from Defendant is instructive that an ATDS is being utilized to

generate the phone calls. Moreover, the nature and frequency of Defendant’s contacts points to

the involvement of an ATDS.

   41. Defendant violated the TCPA by placing at least 15 phone calls to Plaintiff’s cellular

phone using an ATDS without her consent. Any consent that Plaintiff may have given to the

originator of the consumer debt, which Defendant will likely assert transferred down, was

specifically revoked by Plaintiff’s numerous demands that it cease contacting her.

   42. The calls placed by Defendant to Plaintiff were regarding collection activity and not for

emergency purposes as defined by the TCPA under 47 U.S.C. §227(b)(1)(A)(i).

   43. Under the TCPA, pursuant to 47 U.S.C. § 227(b)(3)(B), Defendant is liable to Plaintiff

for at least $500.00 per call. Moreover, Defendant’s willful and knowing violations of the TCPA

should trigger this Honorable Court’s ability to triple the damages to which Plaintiff is otherwise

entitled to under 47 U.S.C. § 227(b)(3)(C).

   WHEREFORE, Plaintiff, ANTWANETTE L. HOWARD, respectfully requests that this

Honorable Court enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Awarding Plaintiff damages of at least $500.00 per phone call and treble damages
      pursuant to 47 U.S.C. §§ 227(b)(3)(B)&(C);

   c. Awarding Plaintiff costs and reasonable attorney fees; and



                                                 7
      Case 3:17-cv-03224-D Document 1 Filed 11/28/17               Page 8 of 9 PageID 8


   d. Awarding any other relief as this Honorable Court deems just and appropriate.


                COUNT III – VIOLATIONS OF THE TEXAS DEBT COLLECTION ACT

   44. Plaintiff restates and realleges paragraphs 1 through 43 as though fully set forth herein.

   45. Plaintiff is a “consumer” as defined by Tex. Fin. Code Ann. § 392.001(1).

   46. Defendant is a “debt collector” and a “third party debt collector” as defined by Tex. Fin.

Code Ann. § 392.001(6) and (7).

   47. The subject debt is a “consumer debt” as defined by Tex. Fin. Code Ann. § 392.001(2) as

it is an obligation, or alleged obligation, arising from a transaction for personal, family, or

household purposes.

           a. Violations of TDCA § 392.302

   48. The TDCA, pursuant to Tex. Fin. Code Ann. § 392.302(4), states that “a debt collector may

not oppress, harass, or abuse a person by causing a telephone to ring repeatedly or continuously,

or making repeated or continuous telephone calls, with the intent to harass a person at the called

number.”

   49. Defendant violated the TDCA when it continued to call Plaintiff’s cellular phone at least

15 times after she notified it to stop calling. The repeated contacts were made with the hope that

Plaintiff would succumb to the harassing behavior and ultimately make a payment. The nature

and volume of phone calls would naturally cause an individual to feel oppressed.

   50. Upon being told to stop calling, Defendant had ample reasons to be aware that it should

not continue its harassing conduct. Yet, Defendant consciously chose to continue placing calls to

Plaintiff’s cellular phone.

   WHEREFORE, Plaintiff, ANTWANETTE L. HOWARD, respectfully requests that this

Honorable Court enter judgment in her favor as follows:

                                                8
     Case 3:17-cv-03224-D Document 1 Filed 11/28/17                Page 9 of 9 PageID 9


   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Entitling Plaintiff to injunctive relief pursuant to Tex. Fin. Code Ann. § 392.403(a)(1).

   c. Awarding Plaintiff actual damages, pursuant to Tex. Fin. Code Ann. § 392.403(a)(2).

   d. Awarding Plaintiff punitive damages, in an amount to be determined at trial, for the
      underlying violations;

   e. Awarding Plaintiff costs and reasonable attorney fees, pursuant to Tex. Fin. Code Ann. §
      392.403(b);

   f. Awarding any other relief as this Honorable Court deems just and appropriate.

Dated: November 28, 2017                             Respectfully submitted,

s/ Nathan C. Volheim                                 s/Taxiarchis Hatzidimitriadis
Nathan C. Volheim, Esq. #6302103                     Taxiarchis Hatzidimitriadis, Esq. #6319225
Counsel for Plaintiff                                Counsel for Plaintiff
Admitted in the Northern District of Texas           Admitted in the Northern District of Texas
Sulaiman Law Group, Ltd.                             Sulaiman Law Group, Ltd.
2500 South Highland Ave., Suite 200                  2500 South Highland Ave., Suite 200
Lombard, Illinois 60148                              Lombard, Illinois 60148
(630) 568-3056 (phone)                               (630) 581-5858 (phone)
(630) 575-8188 (fax)                                 (630) 575-8188 (fax)
nvolheim@sulaimanlaw.com                             thatz@sulaimanlaw.com




                                                9
